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(Official Form 1) (9/01)

 

 

 

 

 

 

 

FORM B1 United States Bankruptcy Court ‘ ; or
eas ses po Voluntary Petition
District of Maryland (Greenbelt Division) .
Name of Debtor (if individual, enter Last, First, Middle): Name of Joint Debtor (Spouse) (Last, First, Middle):
PG&E National Energy Group,.Inc. N/A
All Other Names used by the Debtor in the last 6 years _| All Other Names used by the Joint Debtor in the last 6 years
(include married, maiden, and trade names): ‘' | (include married, maiden, and trade names)
PG&E Diversified Investments, Inc. N/A
Soc. Sec./Tax ID. No. (if more than one, state all): Soc. Sec./Tax ID. No. (if more than one, state all):
XX-XXXXXXX N/A
Street Address of Debtor (No. & Street, City, State & Zip Code): Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
7600 Wisconsin Avenue N/A
Bethesda, Maryland 20814
County of Residence or of the County of Residence or of the
Principal Place of Business: See Schedule 1 annexed hereto Principal Place of Business: N/A
Mailing Address of Debtor (if different from street address): Mailing Address of Joint Debtor (if different from street address):
N/A

 

 

Location of Principal Assets of Business Debtor
(if different from street address above):

Direct or indirect ownership interests in electric power generating plants and related assets in various states throughout the United States.
The stock certificates are located in Rockville, Maryland.

    

Information Regarding the Debtor peas the Applicable Boxes)

Venue (Check any applicable box)

[X] Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately preceding the date of this
petition or for a longer part of such 180 days than in any other District.

(1 There is a bankrupicy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

 

 

 

 

 

 

Type of Debtor (Check all boxes that apply) Chapter or Section of Bankruptcy Code Under Which
the Petition is Filed (Check one box)
C] Individual(s) CL Railroad 1 Chapter 7 © Chapter 11 C] Chapter 13
X Corporation oO Stockbroker CO) Chapter 9 Cl Chapter 12
CL Partnership C] Commodity Broker C1 ‘Sec. 304 - Case ancillary to foreign proceeding
(J Other
Nature of Debts (Check one box) o Filing Fee (Check one box)

(0 Consumer/Non-Business XX] Business SJ Full Filing Fee attached

Chapter 11 Small Business (Check all boxes that apply) C1 Filing Fee to be paid in installments (Applicable to individuals only)
CJ Debtor is a small business as defined in 11 U.S.C. § 101 Must attach signed application for the court’s consideration certifying that
(1 Debtor is and elects to be considered a small business under 11 U.S.C. the debtor is unable to pay fee except in installments. Rule 1006(b). See

§ 1121(e) (Optional) Official Form No. 3.
Statistical/Administrative Information (Estimates only) THIS SPACE IS FOR
X Debtor estimates that funds will be available for distribution to unsecured creditors. COURT USE ONLY

(1) Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
distribution to unsecured creditors. :

 

Estimated Number of Creditors 1-15 16-49 50-99: 100-199 200-999 1000-over

 

O O O & C] O
Estimated Assets
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million

 

O C] | O Ci O oO. xl
Estimated Debts . ‘ ,
$0 to $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 to $50,000,001 to More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million
O Oo O oO oO, oO oO id

 

 

 

 
 

 

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Voluntary Petition

(This page must be completed and filed in every case)
Prior Bankruptcy Case Filed Within Last o Years (ff more than one, attach additional sheet)

Location . Case Number: Date Filed:
Where Filed: N/A < N/A N/A

Pending Bankruptey Case Filed by any Spouse. Partner or Affiliate of this Debtor (Hf more than one, attach additional sheet
Name of Debtor: ‘Case Number: Date Filed:

See Schedule 2
District: Relationship: Judge:

Name of Debtor(s): FORM BI, Page 2
PG&E National Energy Group, Jac. ‘ :

      
 

 

   

Signature(s) of Debtor(s) (Individual/Joint) Exhibit A

I declare under penalty of perjury that the information provided in this petition is (To be completed if debtor is required to file periodic reports
true and correct. (e.g., forms 10K and 10Q) with the Securities and Exchange
[If petitioner is an individual whose debts are primarily consumer debts and has Commission pursuant to Section 13 or | 5(d) of the Securities
chosen to file under chapter 7] I am aware that | may proceed under chapter 7, 11, Exchange Act of 1934 and is requesting relief under chapter 11)

(2 or 13 of title 11, United States Code, understand the relief available under each | J Exhibit A is attached and made a part of this petition.
such chapter, and choose to proceed under chapter 7.

 

 

 

 

 

T request relief in accordance with the chapter of title 11, United States Code, Exhibit B
specified in this petition. (To be completed if debtor is an individual whose debts are primarily
Lo wee consumer debts)
x I, the attorney for the petitioner named in the foregoing petition, declare that I
Signature of Debtor have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
or 13 of title 11, United States Code, and have explained the relief available under
xX _ each such chapter.
Signature of Joint Debtor
X
Telephone Number (If not represented by attomey) Signature of Attorney for Debtor(s) Date

 

 

ZO . ff Z
Date i a f .
Signature PD A LY Mars/ | Exhibit C
Xx < (To be completed if debtor is an individual whose debts are primarily

Signature of Attorney for Debtor(s) . consumer debts)
Does the debtor own or have possession of my property that poses or is alleged to

 

 

Pau) M. Nussbaum, Esq. (No. 04394) Matthew A. Feldman, Esq. pose a threat of imminent and identifiable harm to public health or safety?
ae T. Fletcher, Esq. (07608) Shelley C. Chapman, Esq. O Yes, and Exhibit C is attached and made a part of this petition.
jteford, Taylor & Preston Willkie Farr & Gallagher CI No:
Seven Saint Paul Street, Suite 1400 787 Seventh Avenue
Baltimore, Maryland 21202-1626 New York, NY 10019-6099 Signature of Non-Attorney Petition Preparer
(410) 347-8700 (212) 728-8000 I certify that | am a bankruptcy petition preparer as defined in 11 U.S.C. § 110,
that I prepared this document for compensation, and that I have provided the
nw 8, 2003 debtor with a copy of this document.
e

 

 

Signature of Debtor (Corporation/Partnership)
I declare under penalty of perjury that the information provided in this petition is
true and correct, and that I have been authorized to file this petition on behalf of
the debtor. . Social Security Number
The debtor requests relief in accordance with the chapter of title 11, United States

Code, specjfied in this petition Address
x The (. ‘Beupticlen : =

Si re of Authorized Individual Names snd Social Security numbers of all other individuals who prepared or
assisted in preparing this document:

Printed Name of Bankruptcy Petition Preparer

 

 

moulis

 

 

 

Printed Name of Authorized Individual If more than one person prepared this document, attach additional sheets
Vice ide asu conforming to the sppropriate official form for each person.

Title of Authorized Individual x

July 8, 2003 ' Signature of Bankruptcy Petition Preparer

 

Date

 

Date

A bankruptcy petition preparer’s failure to comply with the provisions of title 11
and the Federal Rules of Bankruptcy Procedure may result in fines or
imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. §156.

 

 

 

 
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MARYLAND

 

(Greenbelt Division)
)

In re: ) ‘Chapter 11
)

PG&E National Energy Group, Inc., ) Case No. 03- (__)

)
Debtor. )
)

 

EXHIBIT “A” TO VOLUNTARY PETITION

1. The Debtor’s securities are registered under Section 12 of the Securities Exchange Act of
1934. The SEC file number is 333-66032.

2. Unless expressly stated otherwise herein, the following financial data refers to the latest
available information detailing the unaudited financial condition of the Debtor, on a stand-alone

basis, as of May 31, 2003:

a) Total assets: : $1,830,871,544

b) Total debts (including debts listed in 2.c below) $1,785,861,315'
c) Debt securities held by more than 500 holders None?”

d) Number of shares of preferred stock None

e) Number of shares of common stock | 1,000 shares

authorized, issued
and outstanding

f) Approximate number of holders of common stock 1 Holder of Record?

 

1 . .
This amount excludes guarantee claims.

2 The Debtor does not have an updated list of holders, but based on information available to the Debtor, the
Debtor believes the number of holders is less than 500..,

3 PG&E Copp. is the sole shareholder of PG&E National Energy Group, LLC, which owns 97% of PG&E
National Energy Group, Inc. The other 3% is owned by various entities, primarily by General Electric and Lehman
Brothers.
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3. Comments, if any:: The Debtor has one outstanding series of public debt securities, the
number of holders of which the Debtor believes is less than 500.

4. Description of Business: The Debtor is a holding company that owns directly or
indirectly nearly 200 subsidiaries (collectively, the “Company”). The Company is an integrated
energy company with a strategic focus on power generation, natural gas transmission and
wholesale energy marketing and trading in North America.
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SCHEDULE 1

PG&E National Energy Group, Inc. is incorporated in Delaware, and maintains its
headquarters in Montgomery County, Maryland.

'
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SCHEDULE 2

Pending Bankruptcy Case Filed by any Partner or Affiliate of Debtor PG&E National Energy
Group, Inc.

A) Concurrently herewith, each of the following entities, in addition to the Debtor, has filed
a voluntary petition and a motion with the Court seeking the joint administration of their
respective chapter 11 cases in the United States Bankruptcy Court for the District of Maryland:

PG&E Energy Trading - Power, L.P.

PG&E Energy Trading Holdings Corporation
PG&E Energy Trading - Gas Corporation
PG&E ET Investments Corporation

B) Concurrently herewith, the following entity has filed a voluntary petition for relief under
chapter 11, but will not seek joint administration with the Debtor:

USGen New England, Inc.

C) On April 6, 2001, Pacific Gas and Electric Company (the “Utility”), an affiliate of the
Debtor, filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code in the
United States Bankruptcy Court of the Northern District of California, Case No. 01-30923. The
Utility’s chapter 11 case is pending before the Honorable Dennis A. Montali.
